
706 S.E.2d 239 (2011)
STATE of North Carolina
v.
Vernon Morrell SMITH.
No. 15P11.
Supreme Court of North Carolina.
February 3, 2011.
Vernon Morrell Smith, For Smith, Vernon Morrell.
Robert C. Montgomery, Senior Deputy Attorney General, for State of North Carolina.
Seth Edwards, District Attorney, for State.

ORDER
Upon consideration of the petition filed by Defendant on the 11th of January 2011 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 3rd of February 2011."
